                                                                                                                Summary of Corrections to Revised Kuhn Analysis

KEY: ^ denotes coding of commission under 1415 instead appropriate code.


                                                        Per TVJ & Revised Kuhn Report                                                                                              Adjustment to Cost Codes for Purposes of Commission Calculation

                                           Amount                                                                                                                   1430                                                          9999 & 9995
                                        Received from                                                                                                           Estimating /                                        1446          Project Fee
                                            Client                                                                                               1415           9999 Design,         1442           1443       Senior Project       Payout /                                              Relevant Job
                                       (Trial Ex. 81 & Revised Contract                                    Profit per          1115        Office Supplies /      Bidding,         Admin/         Admin/        Manager /      0102 Overhead &         Sum of           Adjusted Net       Cost Detail
  Project Name        Job Number            1003)           Value       Billed to Client  Total Cost       TVJ             Builders Risk     Admin Costs         Contracts      Acct Assistant Acct Manager      President           Profit          Adjustments       Realized Profit       Report
KRO ROS FIRE           15KROG-003F     $      88,701.02 $     88,701.02 $       88,701.02 $      77,925.21 $ 10,775.81 $             -     $            -      $           -    $          -   $         -        $        -    $       4,618.21 ^ $       4,618.21   $       15,394.02 Trial Ex. 1017
KRO FIS MISC           15KROG-018P     $      35,790.88 $     36,666.25 $       35,790.88 $      36,666.25 $      (875.37) $         -     $            -      $           -    $          -   $         -        $        -    $            -     $            -     $         (875.37) Trial Ex. 1018
KRO BOW FIRE          15KROG-025F      $      18,286.74 $     18,637.74 $       18,286.74 $      17,116.35 $ 1,170.39 $              -     $            -      $           -    $          -   $      560.00      $     360.00 $             -     $         920.00   $        2,090.39 Trial Ex. 1019
                                                                                                                                                                                                                  $ 21,250.27
                                                                                                                                                                                                             SPM $ 23,435.47
KRO SAN                15KROG-002      $   9,918,020.02 $    9,918,020.02 $   9,918,020.02 $   9,700,533.38 $ 217,486.64   $   6,854.00 $          2,460.98 $             -     $ 12,996.55 $       2,241.02 RC $ 2,185.20 $           93,208.56   $     139,011.38   $       356,498.02 Trial Ex. 1020
                                                                                                                                                                                                                  $ 3,801.09
                                                                                                                                                                                                             SPM $ 14,727.09
KRO ROS                15KROG-003      $   9,270,359.93 $    9,270,359.93 $   9,270,359.93 $   8,932,700.73 $ 337,659.20   $   6,621.00 $          2,052.50 $             -     $ 11,872.28 $       1,604.52 RC $ 10,926.00 $         144,711.09   $     170,662.48   $       508,321.68 Trial Ex. 1021
                                                                                                                                                                                                                  $ 6,956.70
                                                                                                                                                                                                             SPM $    6,956.70
KRO WL                 15KROG-006      $ 11,481,718.73 $ 11,481,718.93 $ 11,481,718.73 $ 11,058,416.80 $ 423,301.93        $   4,928.80 $          1,809.17 $             -     $ 20,812.79 $       1,923.34 RC $          -      $ 181,415.11       $ 217,845.91         $   641,147.84 Trial Ex. 1022
KRO STE FC             15KROG-007      $ 1,471,826.25 $ 1,471,826.25 $ 1,471,826.25 $ 1,384,514.60 $ 87,311.65             $   1,151.00 $             45.17 $             -     $       812.72 $    1,842.54      $        -    $      37,419.28   $      41,270.71   $       128,582.36 Trial Ex. 1023
                                                                                                                                                                                                                  $ 7,678.27
                                                                                                                                                                                                             SPM $ 18,604.27
KRO FIS                15KROG-018      $ 11,802,262.45 $ 11,802,262.45 $ 11,802,262.45 $ 11,401,134.24 $ 401,128.21        $   2,500.00 $          3,936.81 $        2,557.48   $ 15,261.27 $       1,729.06 RC $ 10,926.00 $         171,964.64   $     205,627.53   $       606,755.74 Trial Ex. 1024
                                                                                                                                                                                                                  $ 6,522.70
                                                                                                                                                                                                             SPM $ 17,448.70
KRO FRA                15KROG-022      $ 11,154,694.14 $ 11,154,694.14 $ 11,154,694.14 $ 10,559,661.62 $ 595,032.52        $   2,500.00 $          5,343.39 $        1,482.79   $ 14,021.50 $       1,571.87 RC $ 10,926.00 $         255,013.94   $     286,456.19   $       881,488.71 Trial Ex. 1025
                                                                                                                                                                                                                  $ 8,402.94
                                                                                                                                                                                                             SPM $ 41,180.94
KRO BOW                15KROG-25       $ 11,012,991.91 $ 11,012,991.91 $ 11,012,991.89 $ 10,580,716.13 $ 432,275.76        $   4,995.00 $          2,101.69 $             -     $ 19,152.09 $       2,119.27 RC $ 32,778.00 $         185,101.19   $     221,872.18   $       654,147.94 Trial Ex. 1026
                                                                                                                                                                                                                  $ 3,476.69
                                                                                                                                                                                                             SPM $ 51,551.09
Indy South             15MEN-001       $   2,685,022.29 $    2,685,022.29 $   2,685,022.29 $   2,521,345.74 $ 163,676.55   $   1,791.00 $          2,800.45 $             -     $          -   $ 11,779.61 RC $ 48,074.40 $            70,147.09   $      89,994.84   $       253,671.39 Trial Ex. 1027
Indy East              15MEN-003       $   8,917,061.25 $    8,945,077.07 $   8,917,061.25 $   8,662,268.82 $ 254,792.43   $   5,108.00 $          1,288.41 $             -     $          -   $ 20,930.17        $        -    $     121,355.05   $     148,681.63   $       403,474.06 Trial Ex. 1028
                                                                                                                                                                                                                  $     145.12
                                                                                                                                                                                                             SPM $      145.12
B-SHOPS PH1            16GEN-064       $    143,595.55 $      143,595.55 $     143,595.55 $     123,464.00 $ 20,131.55     $        -      $            -      $     3,046.28   $          -   $         -    RC $         -    $       9,332.30   $      12,523.70   $        32,655.25 Trial Ex. 1029
KRO ROC RAIL           16KROG-003P     $     10,379.06 $       10,379.06 $      10,379.06 $       7,729.06 $ 2,650.00      $        -      $            -      $          -     $          -   $         -        $        -    $            -     $            -     $         2,650.00 Trial Ex. 1030
                                                                                                                                                                                                                  $ 7,907.60
                                                                                                                                                                                                             SPM $ 64,722.80
KRO IND                16KROG-006      $ 12,696,385.74 $ 12,696,385.74 $ 12,696,385.74 $ 12,260,582.98 $ 435,802.76        $   4,265.00 $          2,388.28 $      19,574.72    $ 16,159.71 $       1,046.60 RC $ 56,815.20 $         189,271.49   $     240,613.40   $       676,416.16 Trial Ex. 1031
                                                                                                                                                                                                                  $ 13,242.30
                                                                                                                                                                                                             SPM $ 21,642.30
KRO JEF                16KROG-010      $   7,345,939.34 $    7,345,939.34 $   7,345,939.34 $   7,186,898.17 $ 159,041.17   $        -      $       2,992.06 $        5,771.02   $ 17,885.92 $       2,601.51 RC $ 8,400.00 $                0.10   $      42,492.91   $       201,534.08 Trial Ex. 1032
                                                                                                                                                                                                                  $ 3,169.59
                                                                                                                                                                                                             SPM $    3,169.59
KRO FLU FC             16KROG-015      $   1,430,827.24 $    1,430,827.24 $   1,430,827.24 $   1,383,566.80 $ 47,260.44    $   1,000.00 $            553.89 $        8,139.40   $     2,630.75 $    1,345.48 RC $          -    $      20,636.37   $      37,475.48   $        84,735.92 Trial Ex. 1033
KRO APP                16KROG-019      $     206,531.50 $      206,531.50 $     206,531.50 $     181,669.40 $ 24,862.10    $        -   $               -   $        2,319.53   $     1,372.40 $      324.26      $        -    $      10,660.64   $      14,676.83   $        39,538.93 Trial Ex. 1034
KRO FRA CLST           17KROG-001      $     223,000.00 $      223,000.00 $     223,000.00 $     178,123.41 $ 44,876.59    $        -   $               -   $             -     $       458.13 $         -        $        -    $      19,624.78   $      20,082.91   $        64,959.50 Trial Ex. 1035
                                                                                                                                                                                                                  $     106.99
                                                                                                                                                                                                             SPM $      106.99
GRAFTON ECR            17KROG-004      $      70,528.04 $      70,528.04 $      70,528.04 $      53,357.71 $ 17,170.33     $        -      $         527.86 $        5,148.18   $       340.82 $         -    RC $         -    $       7,358.72   $      13,482.57   $        30,652.90 Trial Ex. 1036
                                                                                                                                                                                                                  $     235.42
                                                                                                                                                                                                             SPM $      235.42
MEQUON ECR             17KROG-005      $      48,833.84 $      48,833.84 $      48,833.84 $      37,816.66 $ 11,017.18     $        -      $            -      $      197.58    $       340.83 $         -    RC $         -    $       4,721.65   $       5,495.48   $        16,512.66 Trial Ex. 1037
                                                                                                                                                                                                                  $     214.02
                                                                                                                                                                                                             SPM $      214.02
MKE ECR                17KROG-007      $      44,749.14 $      44,749.14 $      44,749.14 $      32,936.12 $ 11,813.02     $        -      $            -      $      191.04    $       340.75 $         -    RC $         -    $       5,062.73   $       5,808.54   $        17,621.56 Trial Ex. 1038
GLENDALE ECR           17KROG-008      $      72,964.54 $      72,964.54 $      72,964.54 $      49,471.29 $ 23,493.25     $        -      $            -      $      197.57    $       341.76 $         -        $        -    $      10,068.54   $      10,607.87   $        34,101.12 Trial Ex. 1039
                                                                                                                                                                                                                  $     256.81
                                                                                                                                                                                                             SPM $      256.81
SHOREWOOD ECR          17KROG-009      $      73,768.64 $      73,768.64 $      73,768.64 $      50,161.64 $ 23,607.00     $        -      $            -      $      150.52    $       327.39 $         -    RC $         -    $      10,117.29   $      10,852.01   $        34,459.01 Trial Ex. 1040



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                                                                                                                                                                                        $ 5,146.54
                                                                                                                                                                                   SPM  $ 5,146.54
KRO MUN          17KROG-035   $   2,147,305.50 $   2,147,305.50 $   2,147,305.50 $   1,997,876.40 $ 149,429.10 $     1,006.00 $    657.29 $     5,885.06 $    6,858.21 $   1,643.30 RC $        -     $    64,041.05   $     85,237.45 $       234,666.55 Trial Ex. 1041
KRO SAN Repair   18KROG-006   $       4,000.00 $       4,000.00 $       4,000.00 $       8,089.47 $ (4,089.47) $          -   $       -   $        89.47 $       59.01 $        -       $       -     $          -     $        148.48 $        (3,940.99) Trial Ex. 1054
                                                                                                                                                                                        $ 8,313.75
                                                                                                                                                                                    SPM $ 12,775.69
                                                                                                                                                                                     RC $       -
MEN WH Racine    18MEN-001    $   1,355,871.16 $   1,355,871.16 $   1,355,871.16 $   1,353,130.82 $   2,740.34   $   2,709.98 $    433.84 $     3,045.94 $    8,618.94 $   1,335.17 BF $ 4,461.94     $          -     $     24,457.62   $      27,197.96 Trial Ex. 1055
                                                                                                                                                                                        $ 3,583.00
                                                                                                                                                                                    SPM $  3,583.00
MEN WH BURLGTN 18MEN-002      $    967,500.00 $     967,500.00 $     967,500.00 $     925,142.87 $ 42,357.13     $   2,430.16 $     18.78   $   3,346.51 $    5,407.11 $   1,114.02 RC $        -     $    13,394.66   $     29,294.24 $        71,651.37 Trial Ex. 1056
                                                                                                                                                                                        $ 2,493.39
                                                                                                                                                                                    SPM $  2,493.39
MEN WH CHE       18MEN-016    $    519,065.89 $     519,065.89 $     519,065.89 $     527,929.66 $    (8,863.77) $    759.13 $    2,345.30 $    2,057.33 $    3,778.81 $     165.26 RC $        -     $          -     $     11,599.22 $         2,735.45 Trial Ex. 1057
                                                                                                                                                                                        $ 6,922.18
                                                                                                                                                                                    SPM $  6,922.18
MEN RAC II       18MEN-023    $   2,186,626.72 $   2,186,626.72 $   2,186,626.72 $   2,147,584.62 $ 39,042.10    $   1,055.30 $   1,173.71 $    1,590.88 $    9,098.56 $   1,115.44 RC $        -     $          -     $     20,956.07 $        59,998.17 Trial Ex. 1058
                                                                                                                                                                                        $ 20,051.97
                                                                                                                                                                                    SPM $ 92,038.25
                                                                                                                                                                                     RC $ 70,000.00
KRO WLAF         16KROG-021   $ 12,299,779.34 $ 12,299,779.34 $ 12,299,779.34 $ 11,597,973.50 $ 701,805.84       $   6,905.00 $       -     $   2,501.43 $   25,575.08 $   4,620.67     $ 1,986.28    $          -     $      59,654.15 $      761,459.99 Trial Ex. 1085
                                                                                                                                                                                                            Subtotal   $   2,172,419.99 $    6,840,302.37
                                                                                                                                                                                                    30% of Subtotal    $     651,726.00 $    2,052,090.71
                                                                                                                                                                                   07/25/2024 Kuhn Report Concedes:                     $      147,102.00
                                                                                                                                                                                             Total Owed to Roumann                           $2,199,192.71




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